 1   Jeremy E. Roller, WSBA No. 32021              HON. FREDERICK P. CORBIT
     ARETE LAW GROUP PLLC
 2   600 University Street, Suite 2420
     Seattle, WA 98101
 3   Phone: (206) 428-3250
     Fax: (206) 428-3251
 4   jroller@aretelaw.com

 5   Matthew Sava, Esq.*
     Matthew J. Livingston, Esq.*
 6   Zheng Gao, Esq.*
     Reid & Wise LLC
 7   One Penn Plaza, Suite 2015
     New York, NY 10119
 8   Phone: (212) 858-9982
     msava@reidwise.com
 9   mlivingston@reidwise.com
     zgao@reidwise.com
10   *Admitted Pro Hac Vice

11   Attorneys for EB-5 Plaintiffs

12
                      UNITED STATES BANKRUPTCY COURT
13                    EASTERN DISTRICT OF WASHINGTON

14    In re                                            Chapter 11
      1 MIN, LLC; HOTEL AT SOUTHPORT,                  Lead Case No. 24-01519
15    LLC; and TWELFTH FLOOR, LLC,
                                                       (Jointly Administered)
                               Debtors.
16
                                                       Adv. Proc. No. 25-80007
17    LAN CAI, SHUJIE CHEN, TIANRAN
      CHEN, WEIJUN CHEN, JIE CHU,                      DECLARATION OF
18    ZHAOJUN CONG, HE CUI, JIANYING                   MATTHEW J.
      DING, JICHUN DU, QING DU, JIEYING                LIVINGSTON
      FENG, YUPENG GAO, YIRAN HAN,                     IN SUPPORT OF
19    JINYANG HU, NAIXIN HU, XIAO HUANG,               PLAINTIFFS’ MOTION
      JUNMEI JIN, XIN MENG, WEIHONG LU,                FOR PROTECTIVE
      YUANYUAN MA, MIN PAN, LEI PEI, HAO               ORDER
20    QI, XIAO RONG, JUAN SHAO, HUI


      DECLARATION OF MATTHEW J. LIVINGSTON IN
      SUPPPORT OF PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
     25-80007-FPC   Doc 31-2   Filed 04/22/25   Entered 04/22/25 11:31:23   Pg 1 of 7
 1    WANG, JINGYI WANG, YUQUAN WANG,
      ZIDONG WANG, RONGRONG WU,
      ZHAOHUI XU, QI XU, JIE YAN, KE
 2    YANG, QIN YANG, HONGYUN YU,
      SHUXIAN ZENG, XIAOHONG ZHANG,
      YING ZHAO, MINBO ZHOU, NAN ZHOU,
 3    HUIQING ZHU, ZILING ZENG, LUYI
      ZHANG, JUNDI LIANG, TAO LI, YUN CAI,
 4    HONGLIANG TANG, JIE TANG,
      WENLUNG CHEN, SHI ZHANG, JUN CHE,
      DAHE ZHANG, SHAN WAN, XIAOHONG
 5    SUN, YAN LYU A/K/A YAN LU, WENYAN
      WANG, JIALIN TIAN, RUI TANG,
      XINHAN LIN, SIYU LIU, JIANYING
 6    MENG, PHUONG NGUYEN, YEQING PAN,
      XUERONG QI, QIANG WANG, JUNLI
 7    WEI, YUNFEI WU, HONGYING YU,
      DONGLI ZHANG,
 8    Plaintiffs,
      v.
 9
      HOTEL AT SOUTHPORT, LLC, TWELFTH
10    FLOOR, LLC, 1 MIN, LLC.
      Defendants,
11
      and
12    WF CREL 2020 GRANTOR TRUST,

13    Intervenor-Defendant.

14

15

16

17

18

19

20


      DECLARATION OF MATTHEW J. LIVINGSTON IN
      SUPPPORT OF PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
     25-80007-FPC   Doc 31-2   Filed 04/22/25   Entered 04/22/25 11:31:23   Pg 2 of 7
 1
            I, Matthew J. Livingston, declare as follows:
 2
         1. I am the attorney of record for each Plaintiff in the above-captioned
 3
            adversary proceeding.
 4
         2. Attached hereto are the following exhibits, which are accurate to the
 5
            best of my knowledge:
 6
               a. Exhibit 1: An example deposition notice for Plaintiff Dahe
 7
                    Zhang, which is substantively identical (other than the time of
 8
                    deposition) to the deposition notices sent to each Plaintiff by
 9
                    Defendants in the above-captioned adversary proceeding.
10
               b. Exhibit 2: A summary of all seventy (70) deposition notices sent
11
                    by Defendants to Plaintiffs in the above-captioned adversary
12
                    proceeding.
13
               c. Exhibit 3: A summary of the current country-of-residence of
14
                    each Plaintiff in the above-captioned adversary proceeding.
15

16    I declare under penalty of perjury under the laws of the State of Washington
      that the foregoing is true and correct.
17
      Dated: April 22, 2025.                          Respectfully submitted,
18
                                                      ___________________
19                                                    Matthew J. Livingston Esq.
                                                      Reid & Wise LLP
20                                                    One Penn Plaza, Suite 2015


      DECLARATION OF MATTHEW J. LIVINGSTON IN
      SUPPPORT OF PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
     25-80007-FPC     Doc 31-2    Filed 04/22/25   Entered 04/22/25 11:31:23    Pg 3 of 7
 1                                                 New York, NY 10119
                                                   Phone: (212) 858-9982
 2                                                 mlivingston@reidwise.com

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20


      DECLARATION OF MATTHEW J. LIVINGSTON IN
      SUPPPORT OF PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
     25-80007-FPC   Doc 31-2   Filed 04/22/25   Entered 04/22/25 11:31:23   Pg 4 of 7
 1                                      Exhibit 1

 2           DEPOSITION NOTICE OF PLAINTIFF DAHE ZHANG

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20


      DECLARATION OF MATTHEW J. LIVINGSTON IN
      SUPPPORT OF PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
     25-80007-FPC   Doc 31-2   Filed 04/22/25   Entered 04/22/25 11:31:23   Pg 5 of 7
 1                                    EXHIBIT 2

 2                      Summary Table of Deposition Notices

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20


      DECLARATION OF MATTHEW J. LIVINGSTON IN
      SUPPPORT OF PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
     25-80007-FPC   Doc 31-2   Filed 04/22/25   Entered 04/22/25 11:31:23   Pg 6 of 7
 1                                      Exhibit 3

 2          Current Country of Residence Information for All Plaintiffs

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20


      DECLARATION OF MATTHEW J. LIVINGSTON IN
      SUPPPORT OF PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
     25-80007-FPC   Doc 31-2   Filed 04/22/25   Entered 04/22/25 11:31:23   Pg 7 of 7
